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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


   United States of America,                         )
                                                     )
                                                     )
           v.                                        )
                                                     )       Civil Action No. l:19-cr-0449
   Kenneth W. Ravenell, et ai.,                      )       Hon. Liam O’Grady
                                                     )
                          Defendants.                )
                                                     )
                                                     )
                                                     )




                                 MEMORANDUM OPINION



       The Defendant, Kenneth Ravenell, has requested a hearing to address what he argues is a

failure of the Government to turn over Brady materials to the Defendants. Dkt. 426. There is a

dispute between the Government and the Defendants as to whether the evidence in question is

properly characterized as Brady materials or as Jencks and Giglio disclosures. The Defendants

have not demonstrated that they were prejudiced from a delay in disclosure of the alleged Brady

materials. See United States v. Ingraldi, 793 F.2d 408, 411-412. Therefore, it is not necessary to

hold a hearing on discovery disclosures made by the Government.




December ? , 2021                                    Liam O Grady
Baltimore, Maryland                                  United States District Judge
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